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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA    *
                            *
     v.                     *                                 CRIMINAL NO. RDB-21-196
                            *
SIDHARTHA KUMAR MATHUR      *
                            *
                      **************

                    GOVERNMENT’S SENTENCING MEMORANDUM

       In response to official action that he did not agree with, the defendant made repeated,

graphic, and violent threats against a member of Congress. Despite the defendant’s professed

concern about the sanctity of the voting process, he took it upon himself to attempt to violently

intimidate a duly elected representative. The defendant’s vile and felonious conduct included

threats to torture the victim, slit their throat, and skin them alive; to blow up the victim’s office;

and to kill the victim’s family. When confronted by the U.S. Capitol Police, the defendant lied

about what he’d done multiple times, even after being explicitly warned that to do so would

constitute yet another federal crime.

       The defendant’s conduct is simply unacceptable in a civilized society or a functioning

democracy. Our system is designed to resolve political and legal conflicts through political and

legal means. As political violence and domestic extremism grow as threats to the public, violent

intimidation of public officials must result in serious criminal consequences. The sentence imposed

on the defendant must reflect the seriousness of his crimes and promote respect for the law. As a

result of his felony conviction, the defendant should be sentenced to a within-Guidelines two years

of probation, with six months of home detention and 100 hours of community service.




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  I.   PROCEDURAL POSTURE

       On June 10, 2021, the defendant waived his right to a grand jury indictment and pled guilty

to a one-count Information charging him with False Statements, in violation of

18 U.S.C. § 1001(a)(2). Sentencing is currently scheduled for Thursday, September 9, 2021, at

2:30 p.m., by videoconference pursuant to the CARES Act with the defendant’s consent.

 II.   FACTS OF THE OFFENSE

       The defendant, Sidhartha Kumar Mathur, is a 35-year-old resident of Howard County,

Maryland. The person identified as “Representative A” was a member of the United States House

of Representatives.

       On December 10, 2020, at 5:43 p.m., Mathur used his iPhone to submit a threatening

message to the webmail submission form on Representative A’s official Congressional website.

The threat read: “I will fucking kill you and blow up your office if you try to take my vote away.

I know where you and your family lives. You will be ended. You’re a fucking animal that needs

to be tortured and skinned alive.” Mathur submitted contact information in connection with the

message, including the name of “Individual B,” a former neighbor and classmate of Mathur, and

a Howard County residential address where Individual B had previously resided. The threat was

submitted using the internet service at Mathur’s residence.

       On December 10, 2020, at 5:45 p.m., Mathur used his iPhone to leave a threatening phone

message on the voicemail for Representative A’s District Office. In the threating voicemail,

Mathur said: “Yeah, this is regarding the 106th Republican house members in support of Texas’s

bid to overturn the election. I just want to say, I’m going fucking to kill you. If you even mess with

my vote, I’m going to come and I’ll slit your throat and I’ll kill your family. Okay. You shut, you




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fucking, don’t touch my vote. You represent me. I’ll kill you.” The phone number used to place

the call was registered in Mathur’s name at his residence.

       On December 11, 2020, Special Agents of the United States Capitol Police interviewed

Mathur at his residence. Mathur confirmed that the phone number used to place the threatening

call belonged to him and the he had called Representative A’s office and left a message out of

anger. Mathur stated that he may have taken his statements to far. Mathur stated that he would

never harm anyone and he apologized for his statements. Mathur stated that he did “take the threat

seriously that my vote is going to be taken away” and that he made his preconditions clear, but

was not considering actually acting on his voicemail threat.

       Mathur acknowledged that Individual B had been a neighbor and classmate. When asked

about the threatening webmail submitted in Individual B’s name from the internet service at

Mathur’s residence. Mathur denied being responsible for the webmail threat. The agents pointed

out that the webmail threat used similar language and came within minutes of the voicemail threat

Mathur admitted to leaving. The agents informed Mathur that lying to federal agents was a felony

offense, and again asked if he was responsible for the webmail threat, which Mathur again denied.

At the conclusion of the interview, the agents summarized the information covered in the

interview, including that Mathur admitted to leaving the threatening voicemail and denied

submitting the threatening webmail, suggesting that his home WiFi may be insecure. The agents

again informed Mathur that if he lied to a federal agent he could be charged with violation of

18 U.S.C. 1001. Following the repeated admonition, Mathur again falsely denied submitting the

webmail threat in Individual B’s name.




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III.   THE ADVISORY GUIDELINE SENTENCE

       The government concurs with the guidelines calculation set forth in the presentence

investigation report (“PSR”). Dkt. #32, ¶¶ 16-24. The applicable base offense level is 12, pursuant

to U.S.S.G. §§ 2B1.1(c)(3) and 2A6.1(a)(1), because the defendant has been convicted of a

violation of 18 U.S.C. § 1001, and the conduct set forth in the count of conviction establishes a

violation of other offenses, including 18 U.S.C. § 115(a)(1)(B) (Threats Against a Federal

Official). Following an expected two-level reduction for acceptance of responsibility, the final

offense level would be 10.

       With an offense level of 10, and no prior convictions, the defendant’s expected advisory

guidelines sentencing range is 6-12 months in prison. Pursuant to U.S.S.G. § 5B1.1(a)(2), a

sentence of probation is authorized because the offense falls within Zone B of the Sentencing

Table. Pursuant to U.S.S.G. § 5F1.2, a period of home detention may be imposed as a condition

of probation, as a substitute for imprisonment. For the reasons set forth below, a within-Guidelines

sentence of two years of probation, including 6 months of home detention, is sufficient, but no

more than necessary, to accomplish the goals of federal sentencing law and policy.

IV.    THE DEFENDANT SHOULD BE SENTENCED TO SIX MONTHS’ HOME
       DETENTION

       Two years of probation, including six months of home detention, is a just sentence for these

serious crimes after considering the advisory sentencing guidelines and all of the factors set forth

in 18 U.S.C. § 3553(a)(2), including the seriousness of the offense, the need to provide just

punishment, and the need for the sentence imposed to deter others from similar conduct.

       The nature and circumstances of the defendant’s offenses are very serious. In a time of

increased political strife, and escalating threats of political violence, the defendant chose to make

explicit threats to kill a member of Congress, their family, and to blow up their office. The



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defendant’s threats were explicitly made in retaliation for official actions taken by a duly elected

representative with whom he disagreed. Our democracy provides all citizens with many legitimate

opportunities to make their voices heard and to influence the actions of their elected officials. The

defendant could have organized lawful protests. He could have contributed time or money to

promote candidates with whom he agreed or oppose those with whom he disagreed. The defendant

could have contacted the victim and provided evidence or arguments in support of the defendant’s

positions. He could have left angry, even rude messages criticizing the victim’s official actions.

He did none of these things. Instead, he chose to make vile, violent, and felonious threats:

                I will fucking kill you and blow up your office if you try to take my
                vote away. I know where you and your family lives. You will be
                ended. You’re a fucking animal that needs to be tortured and skinned
                alive.

                *****

                I’m going fucking to kill you. If you even mess with my vote, I’m
                going to come and I’ll slit your throat and I’ll kill your family. Okay.
                You shut, you fucking, don't touch my vote. You represent me. I’ll
                kill you.

Despite his professed concerns for voting rights, the defendant’s criminal conduct showed that

when he disagreed with the actions of a democratically elected representative of the people, he felt

justified in attempting to influence the victim’s official actions through violent threats and

intimidation.

       Sadly, political violence of all stripes has become a clear and present danger to public

safety and the functioning of our democracy. The defendant’s conduct showed his rejection of that

democracy and his willingness to resort to repeated violent threats when duly elected

representatives take actions with which he disagrees. The defendant compounded his crimes by

repeatedly lying about submitting the online threat, even when explicitly warned that continuing

to lie would be a federal crime. While his false denials were simply not credible under the


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circumstances, his decision not to either truthfully admit what he’d done or invoke his right to

remain silent, demonstrated further disrespect for the law. A serious sanction, including a felony

conviction, six months of home detention, and 100 hours of community service is warranted.

       The history and characteristics of the defendant further support that a sentence of two years’

probation with six months of home detention is sufficient, but no more than necessary to advance

the goals of sentencing law and policy. The defendant has no prior convictions, and there is no

evidence that he has engaged in other criminal conduct. There is also no evidence that he has made

violent threats to others or on occasions outside of a few minutes

       A sentence of two years of probation, including six months of home detention, would

reflect the seriousness of this crime, promote respect for the law, provide just punishment. As a

result of his criminal conduct, the defendant will be a convicted felon, carrying significant

collateral consequences including the loss of the right to possess a firearm and certain government

benefits. The defendant’s family, community, and the greater public are now aware of the details

of the unlawful, violent threats made by the defendant. The swift and serious consequences

imposed upon him as a result of his crimes, sends a message to the defendant as well as others who

may consider engaging in similar conduct that those who seek to intimidate and threaten

government officials will be identified, arrested, and prosecuted.

       This Court has previously imposed similar sentences upon similarly situated defendants.

For example, a Maryland man was recently convicted after he left a voicemail threatening to kill

a Member of Congress at the Member’s district office, and minutes later made similar threats on

the internet to kill that Member of Congress. This Court sentenced him to time served followed by

two years of supervised release, including 6 months of home detention. United States v. Darryl

Albert Varnum, Crim. No. RDB-19-337. The defendant’s crimes here are nearly the same as those




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committed by Varnum, and imposition of a similar sentence would avoid unwarranted sentencing

disparities.

        The government also respectfully requests that, as a condition of probation, the court order

the defendant to perform at least 100 hours of community service, in a manner approved by his

supervising probation officer. This additional consequence will provide additional benefit to the

community harmed by the defendant’s conduct beyond the general deterrence afforded by his

prosecution and sentencing.

        The defendant’s efforts against his employer were an egregious abuse of trust that resulted

in wanton destruction and disruption of a global company’s computer systems. A felony conviction

and sentence of two years of probation, including six months of home detention and 100 hours of

community service, is sufficient but no more than necessary to advance the goals of federal

sentencing law and policy.

 V.     CONCLUSION

        For the reasons set forth above, the government respectfully requests that the Court impose

a sentence of two years’ probation, including six months of home detention and 100 hours of

community service.

                                              Respectfully submitted,
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                                              Acting United States Attorney

                                      By:            /ss/
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                                              Assistant United States Attorneys




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